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CONCLUSION

For the reasons set forth above and in defendants’ Consolidated Memorandum, the claims
against AstraZeneca should be dismissed.

Dated: Boston, Massachusetts
September 15, 2003
Respectfully submitted,

By: funy. “Gourde

Nicholas C. Theodorou (BBO # 496730)
Lucy Fowler (BBO # 647929)

FOLEY HOAG LLP

155 Seaport Blvd.

Boston, Massachusetts 02210

Tel: (617) 832-1000

D. Scott Wise

Kimberley D. Harris

DAVIS POLK & WARDWELL
450 Lexington Avenue

New York, New York 10017
Tel: (212) 450-4000

Attorneys for AstraZeneca
Pharmaceuticals LP
Case 1:01-cv-12257-PBS Document 551-4 Filed 09/15/03 Page 2 of 30

CERTIFICATE OF SERVICE

I certify that on September 15, 2003, a true and correct copy of the foregoing
Memorandum in Support of AstraZeneca Pharmaceuticals LP’s Motion to Dismiss the Amended
Complaint was served on all counsel of record by electronic service pursuant to Paragraph 11 of
Case Management Order No. 2 by sending a copy to Verilaw Technologies for posting and

notification to all parties.

Ritent “ChoutOe

Lucy Fowler

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE MDL NO. 1456
LITIGATION

CIVIL ACTION:

NO. 01-CV-12257-PBS
THIS DOCUMENT RELATES TO:
County of Suffolk v. Abbott Labs, Inc., et al
03-CV-10643-PBS

Judge Patti B. Saris

Neme4 See? Nee See Sea? Nee Nee Nee Nee! See’

MEMORANDUM IN SUPPORT OF AVENTIS
PHARMACEUTICALS INC.’S MOTION TO DISMISS

THE COUNTY OF SUFFOLK’S AMENDED COMPLAINT

Defendant Aventis Pharmaceuticals Inc. (“Aventis Pharmaceuticals”) respectfully
submits this memorandum in support of its Motion to Dismiss the County of Suffolk’s Amended
Complaint (“CSAC”). In addition to the reasons set forth in the Consolidated Memorandum of
Law in Support of Defendants’ Motion to Dismiss the Complaint, the CSAC should be dismissed
as to Aventis Pharmaceuticals because the County of Suffolk fails to allege it has paid for any
drug product Aventis Pharmaceuticals manufactured or sold.! Accordingly, Plaintiff has
failed to state a claim against Aventis upon which relief can be granted and its claims must be

dismissed with prejudice.

On January 13, 2003, this Court advised the class action plaintiffs that in order to

survive a motion to dismiss they must “particularize exactly what drugs, exactly what the fraud

' Aventis Pharmaceuticals Inc. hereby adopts and incorporates herein each of the

arguments set forth in the Consolidated Memorandum of Law in Support of Defendants’ —
Motion to Dismiss the Complaint.

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is,[and] which plaintiffs paid for what drugs.” See Tr. Of Jan. 13, 2003 Hearing on Motion to
Dismiss, at 74. In May, 2003, the Court reaffirmed its statements, granted, in part, defendants’ _
motions to dismiss and instructed the plaintiffs that if they amend their complaint they must
“clearly and concisely allege with respect to each defendant: (1) the specific drug or drugs that
were purchased from defendant; (2) the allegedly fraudulent AWP for each drug; and (3) the
name of the specific plaintiff(s) that purchased the drug.” In re Pharm. Industry Average

Wholesale Price Litig., 263 F. Supp. 2d 172, 194 (D. Mass. 2003).

The County of Suffolk filed its initial Complaint in this matter on January 14,
2003. On July 31, 2003, as a result of this Court’s rulings on the motions to dismiss, the County
of Suffolk filed its Amended Complaint with this Court. In order to meet the first two prongs of -
the Court’s three part test, the County of Suffolk parroted the Amended Master Consolidated
Complaint by identifying the specific drug products it paid for and listing AWPs for those
products on attached Exhibits A and B to its Amended Complaint. (See Amended Complaint 1 4
and Exhibits A and B). The County asserts that the defendants’ alleged inflation of AWPs for
the Medicaid Covered Drugs set forth in the attached Exhibit A resulted in millions of dollars of

overcharges to the County. Amended Complaint J 4.

In Paragraph 161 of the Amended Complaint, the County references Anzemet®
and Taxotere®, two drug products manufactured by Aventis Pharmaceuticals. The County fails,
however, in the remaining four hundred-eighteen paragraphs of the Amended Complaint, to
allege that it paid for either Aventis Pharmaceuticals product. Nor does the County include
either product or any other product manufactured by Aventis Pharmaceuticals in the list of
Medicaid Covered Drugs which it claims it paid for and which are the subject of the Amended

Complaint (See Amended Complaint { 4 and Exhibits A and B). Inasmuch as the County does

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not claim it paid for any product manufactured by Aventi§ Pharmaceuticals and specifically
omits any Aventis Pharmaceuticals product from the list of Covered Drugs on which the County
bases its injuries, the County has failed to state a claim against Aventis Pharmaceuticals upon
which relief can be granted. Accordingly, Aventis Pharmaceuticals Inc. respectfully requests

that the County of Suffolk’s claims be dismissed with prejudice.

Dated: September 15, 2003 NS submitted,

Paul S. Schleifman ; ,
SHOOK, HARDY & BACON DP.
Hamilton Square

600 14th Street, N.W., Suite 800
Washington, D.C. 20005-2004
Telephone: (202) 783-8400
Facsimile: (202) 783-4211

Michael L. Koon

SHOOK, HARDY & BACON L.L.P.
One Kansas City Place

1200 Main Street

Kansas City, MO 64105

Telephone: (816) 474-6550
Facsimile: (861) 421-5547

Michael DeMarco (BBO #1199690)
Jeanne E. Demers (BBO #561255)
KIRKPATRICK & LOCKHART LLP
75 State Street

Boston, MA 02109

Telephone: (617) 951-9111

Facsimile: (617) 261-3175

ATTORNEYS FOR AVENTIS
PHARMACEUTICALS INC.

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Case 1:01-cv-12257-PBS Document 551-4 Filed 09/15/03 Page 7 of 30

CERTIFICATE OF SERVICE

[hereby certify that a true copy of the foregoing was served, this 15" day of

September, 2003, to all counsel of record by electronic service pursuant to Case Management

_ Order No. 2, by sending a copy of this document to Verilaw Technologies f
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fo

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Paul S. Schleifman

notification to all parties.

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE LITIGATION

THIS DOCUMENT RELATES TO: MDL NO. 1456
CIVIL ACTION NO. 01-CV-12257
COUNTY OF SUFFOLK,
Plaintiff, Judge Patti B. Saris

Vv.
ABBOTT LABORATORIES, INC., AGOURON
PHARMACEUTICALS, INC., AMGEN, INC.,
ASTRAZENECA PHARMACEUTICALS L-P.,
ASTRAZENECA US, AVENTIS BEHRING,
AVENTIS PHARMACEUTICALS, INC., BARR
LABORATORIES, INC., BAYER AG, BERLEX
LABORATORIES, INC., BIOGEN, INC.,
BRISTOL MYERS SQUIBB COMPANY, ELI
LILLY AND COMPANY, FUJISAWA
PHARMACEUTICAL COMPANY, LTD.,
GENENTECH, INC., GLAXO WELLCOME,
P.L.C., GLAXOSMITHKLINE, PLC, IMMUNEX
CORPORATION, [VAX CORPORATION, IVAX
. PHARMACEUTICALS, INC., JANSSEN
PHARMACEUTICAL, JOHNSON & JOHNSON, -
MEDIMMUNE, INC., MERCK & CO., INC.,
NOVARTIS PHARMACEUTICALS
CORPORATION, ORTHO BIOTECH, ORTHO
MCNEIL PHARMACEUTICALS, PFIZER, INC.,
PHARMACIA CORPORATION, PURDUE
PHARMA, L.P., RELIANT
PHARMACEUTICALS, SANOFI-
SYNTHELABO, INC., SCHERING-PLOUGH
CORP., SMITHKLINEBEECHAM P.L.C., TAP
PHARMACEUTICALS, WARRICK
PHARMACEUTICALS, WYETH, AND DOES 1-
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Defendants,

Nee Ne Nee Nee Net Nae et ey ee es ae ee ae ae ee ee ee ee a ey ee es es a ey ee ey ee a es ae ee ee ae ee ee ee

INDIVIDUAL MEMORANDUM OF BAYER CORPORATION
IN SUPPORT OF ITS MOTION TO DISMISS

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In two settlements executed in January 2001 and on August 14, 2003, the state of New
York settled all of its claims against Bayer Corporation (“Bayer”) concerning alleged average
wholesale price (“A WP”) inflation and misreported best prices. The County of Suffolk has now
filed an amended complaint seeking to recover for the very allegations which these settlements
resolved. Plaintiff's amended complaint is rife with vague and speculative allegations, and it
fails to establish standing as to Bayer or satisfy this Court’s standard of particularity. For these
reasons, as well as those stated in Defendants’ Memorandum of Law in Support of Their Motion
to Dismiss and the individual memoranda of other defendants, plaintiff's claims against Bayer

should be dismissed pursuant to Federal Rules of Civil Procedure 9(b), 12(b)(1), and 12(b)(6).

BACKGROUND

In its Amended Complaint (“Complaint”), plaintiff alleges that, as a result of each
defendant’s unlawful scheme, it has paid more than it should have in reimbursement for
defendants’ drugs. (Cmplt., {J 4, 17). Specifically, plaintiff alleges that each of the defendants
engaged in a fraudulent scheme to overcharge for prescription drugs paid for by Medicaid by
reporting overstated AWPs for their products and promoting the resulting inflated Medicaid
reimbursement to providers to increase market share. Ud., J 14, 82, 100-05). In addition,
plaintiff contends that by excluding certain discounts and other inducements from the calculation
of the so called “best price” paid for their products, defendants failed to report the best prices of
their products as required by applicable Federal and State Medicaid laws. (/d., fff 2, 8, 66, 84,
87-91). Notably, Cipro® is the only Bayer product which plaintiff specifically identifies as
being “paid for by Medicaid in Suffolk County[.]” (Zd., 4] 29, 171, 173 & Apps. A-1, B-3).

ARGUMENT

The Complaint must be dismissed as to Bayer for each of two reasons: (1) plaintiff fails

to allege a cognizable claim of AWP fraud, and (2) the State of New York has settled and

released any claims plaintiff might otherwise have against Bayer.
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1. “{ The] threshold question in every federal case” is “whether the plaintiff has made
out a ‘case or controversy’ between himself and the defendant within the meaning of Article Ill.”
Warth v. Seldin, 422 U.S. 490, 498 (1975). As this Court previously recognized in the context of
this multi-district litigation, plaintiff can only proceed with its AWP claims against Bayer to the
extent it paid for Bayer products. See In re Pharm. Indus. AWP Litig., 263 F. Supp. 2d 172, 193-
94 (D. Mass 2003). Not only must plaintiff satisfy Article III, but it must do so with the
particularity required by Federal Rule of Civil Procedure 9(b). Hayduk v. Lanna, 775 F.2d 441,
443-44 (1st Cir. 1985) (state law fraud claims alleged in Federal court must satisfy Rule 9(b)).
To do so under the standard established in this Court’s May 13, 2003 decision, plaintiff must
“clearly and concisely” allege the specific Bayer products for which it has paid and their
allegedly fraudulent AWPs. In re Pharm. Indus. AWP Litig., 263 F. Supp. 2d at 194.

Cipro® is the only Bayer product which plaintiff specifically identifies as being “paid for
by Medicaid in Suffolk County[.]” (Cmplt., 729, 171, 173 & Apps. A-1, B-3). Cipro® is a
self-administered pill not covered under Medicare Part B. Although plaintiff contends that —
“Bayer has engaged in similar inflationary practices in prior years resulting in comparable
damage to Suffolk for all covered drugs” (Cmplt., { 172), its attempt to sweep unidentified Bayer
drugs within the scope of this action must be rejected. As this Court previously admonished
other claimants with similarly vague allegations, plaintiff must meet Rule 9(b)’s requirements by
particularizing exactly what drugs were paid for and “exactly what the fraud is[.]” In re Pharm.
Indus. AWP Litig., Tr. of Jan 13, 2003 Hearing on Mot. to Dismiss, at 74. At a minimum,
plaintiff lacks standing to assert its AWP claims as to any other Bayer drugs and such claims
must be dismissed. See In re Pharm. Indus. AWP Litig., 263 F. Supp. 2d at 193-94 (dismissing

association plaintiffs who failed to allege specific members who purchased specific drugs).

As to the one Bayer product plaintiff actually identifies — Cipro® — plaintiff is unable to
muster any cognizable claim of fraud. Plaintiff's attempt to allege a fraudulent AWP for Cipro®
by referring to its own “investigation” is unavailing. (Cmplt., 4 171). Although purporting to

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reveal an “estimated” overcharge of 27%, these allegations do not indicate the nature of
plaintiff s investigation or how it calculated the “Estimated True AWP.” (Jd.) Moreover,

plaintiffs AWP allegations against Bayer rely solely upon the 2001 settlement. (Id., {i 175-78).

Plaintiffs attempt to give substance to its otherwise wholly speculative allegations by
waving the flag of Bayer’s 2001 settlement is improper and unavailing. First, the terms of the
settlement agreement specifically provide that it “does not constitute an admission by Bayer or
evidence of any liability or wrongful conduct.” (Ex. 1, 2001 State Settlement Agreement (New
York), Part II(G)).' Second, and even more fundamentally, the settlement makes no mention of
Cipro® and thus provides no support for plaintiff's allegations that Bayer fraudulently inflated
the AWP of Cipro®. To the contrary, the settlement involved four different Bayer products —
Koate-HP®, Kogenate®, Konyne-80®, and Gamimune® —all of which are physician-
adminstered drugs covered under Medicare Part B. (See id., Part II(C)). Plaintiff cannot simply
rely on the allegations of fraud resolved as to the four Part B products addressed in the 2001
settlement to impute wrongdoing regarding the one, non-Part B drug identified in its complaint.
Asarco, Inc. v. Kadish, 490 U.S. 605, 615 (1989) (noting that the doctrine of standing is not a
“gaming device” that plaintiffs may surmount merely by aggregating allegations).

Plaintiff's allegations of fraudulent AWP inflation are unrelated to the one Bayer product
for which it allegedly paid. Plaintiff has, therefore, failed to satisfy this Court’s standard of
“clearly and concisely” alleging “exactly what the fraud is[.]” In re Pharm. Indus. AWP Litig.,
263 F. Supp. 2d at 194 & Tr. of Jan. 13, 2003 Hearing on Mot. to Dismiss, at 74. Consequently,
plaintiff's AWP claims as to Cipro® must be dismissed. See United States ex rel. Gublo v.
NovaCare Inc., 62 F. Supp. 2d 347, 354-56 (D. Mass. 1999) (dismissing Medicare fraud claims

because plaintiff failed to allege why or how defendant’s price representations were fraudulent).

' In light of plaintiffs’ reference to these settlements in the Complaint, the Court may take judicial notice
of their contents in considering a Rule 12(b)(6) motion. See Watterson v. Page, 987 F.2d 1, 3 (1 Cir.
1993); see also Romani v. Shearson Lehman Hutton, 929 F.2d 875, 879 n. 3 (1 Cir. 1991); Fudge v.
Penthouse Int'l, 840 F.2d 1012, 1015 (1* Cir. 1988), cert. denied, 448 U.S. 821 (1988).

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In any event, plaintiff's AWP claims are all barred by the 2001 settlement.” Plaintiff
admits as much, recognizing that “[t]he 2001 Bayer settlement may resolve any claims Suffolk
has with respect to the drugs at issue there[.]” (Cmplt., J 180). On this point, plaintiff is correct.
The 2001 settlement resolved allegations that Bayer inflated the AWPs of the drugs Koate-HP®,
Kogenate®, Koyne-80®, and Gamimune® from J anuary 1993 through August 1999. (Ex. 1,
Part II(C)). Thus to the extent plaintiff attempts to sweep within its generalized, unspecific
claims of AWP inflation any of the Bayer products covered by the 2001 settlement, the

settlement itself (as well as principles of standing and Rule 9(b)) preclude those claims.

2. Plaintiff's best price allegations are similarly without merit. Again, plaintiff's
claims rest solely on invocation of a government investigation and the resulting settlement.
(Cmplt., FJ 11, 92-93, 173, 179). But the 2003 settlement on which plaintiff relies bars the very
claims at issue. (Ex. 2, 2003 Settlement Agreement and Release (New York), Sec. IiqH)). That
settlement releases Bayer from “any civil or administrative claims for damages or penalties that
the state of New York has or may have relating to the Covered Conduct.” (Id., Sec. IlI(2)). The
Covered Conduct addresses exactly that for which plaintiff now seeks relief — namely, failing to
disclose the best prices for Cipro® and Adalat®, resulting in underpayment of Medicaid rebates
for those drugs. (Id., Sec. TI(F)).

Plaintiff tries to minimize the preclusive effect of the 2003 settlement, claiming that it
“purports to resolve only one or two years of . . . overcharges.” (Cmplt., { 180). That is
incorrect. The 2003 settlement explicitly releases Bayer from the best price allegations

addressed therein from the third quarter of 1995 to the third quarter of 2000. (Ex. 2, Sec.

? Having settled with the Federal and State governments, Bayer submits that Plaintiff — as a subordinate
body of State government — has no further recourse against Bayer. See 42 U.S.C. § 1396 (establishing
Medicaid as a cooperative system between the Federal and State governments); 42 U.S.C. § 1396r-8
(contemplating a rebate arrangement between the Secretary of the Department of Health and Human
Services and individual manufacturers); N.Y. Soc. Serv. Law § 367-b (providing that State pays medical
providers directly and social service districts subsequently reimburse State for their share of
expenditures).

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IL(F)(i)). Moreover, in addition to resolving the best pricé allegations regarding Cipro® and
Adalat® for the stated time period, the 2003 settlement incorporates the filings in the underlying
Federal criminal action. (/d., Sec. II(F), p. 4). Thus the 2003 settlement releases Bayer from
liability for any conduct which was the subject of the Federal investigation or known to the U.S.
Attorney at the time of settlement. (Ex. 2, Plea Agreement, Sec. 4). To the extent plaintiff
attempts to extend its allegations of best price malfeasance as to any of the drugs at issue in the
2001 settlement, its claims are also barred by that settlement. The 2001 settlement, in addition to
addressing AWP, settled allegations that Bayer misreported the best price (and thereby underpaid
Medicaid rebates) for Koate-HP®, Kogenate®, Konyne-80, and Gamimune. (Ex. 1, Part
Il(C)(iv)). Taken together, the 2001 and 2003 settlements dispose of any and all best price
claims plaintiff purports to assert against Bayer with respect not only to Cipro®, but also the four

Medicare-covered products.

In sum, plaintiff alleges that it purchased one Bayer product — Cipro®. Plaintiff's claims
of AWP fraud as to Cipro® fail because they refer solely to a 2001 Bayer settlement pertaining
to Medicare-covered products that had nothing to do with Cipro®. Plaintiff's claims of best
_ price fraud as to Cipro® fail because they are barred by the 2003 settlement. To the extent
plaintiff seeks to sweep other Bayer products into its Complaint, those claims are barred by
principles of standing and pleading requirements under Rule 9(b) as well as (with respect to
Koate-HP®, Kogenate®, Konyne-80, and Gamimune) the 2001 settlement.

> If plaintiff's allegations are intended to cover a broader time period than the 2001 and 2003 settlements
or to allege inflated AWPs or best pricing malfeasance as to any drugs not mentioned therein, plaintiff has
clearly failed to meet even the minimal pleading requirements of Rule 8, let alone the heightened standard
of Rule 9(b). M&I Heat Transfer Products, Lid. v. Wilke, 131 F. Supp. 2d 256, 261 (D. Mass. 2001)
(requiring a plaintiff asserting a fraud claim to specify the who, what, when, where, and why of the

fraud).

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CONCLUSION ©
For the foregoing reasons, as well as those stated in Defendants’ Memorandum of Law in
Support of Their Motion to Dismiss and the individual memoranda of other defendants, Bayer
requests that the claims against it in the Amended Complaint be dismissed.

Dated: September 15, 2003 Ri t fu itted,
Richard D. Raskin Robert P. SKetman

Michael P. Doss NIXON PEABODY

Susanna E. Squier 101 Federal Street

SIDLEY AUSTIN BROWN & WOOD Boston, Massachusetts 02110
10 S. Dearborn Street 617-345-6188 (tel.)

Chicago, Illinois 60603 866-382-6138 (facsimile)

312-853-7000 (tel.)
312-853-7036 (facsimile)

Attorneys for Defendant Bayer Corporation

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Exhibit 1
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State Settlement Agreement
This Settlement Agreement (hereafter the “Agreement’”) is entered into by and
between the STATE OF NEW YORK (hereinafter the “STATE”) and BAYER .
Corporation (hereinafter “BAYER") thercinafter collectively referred to as the
Parties”) through their authorized representatives.
Part 1: Preamble
Asa preamble to this Agreement,.the Parties agree to the following:

A. BAYER Corporation is a corporation organized under the laws of Indiana _ Its
headquarters are in Pittsburgh, Pennsyivania. BAYER is a manufacturer of
pharmaceutical and biological products. Miles, Inc. and Cutter Laboratories, Inc.
(which along with BAYER Corporation, shall be referred to hereafter as “BAYER”),
were predecessor organizations that ultimately were merged into the company that
became known 2s BAYER Corporation. At all relevant tunes, BAYER
manufactured, marketed and sold certain drugs and biological products to — among -
others — (1) healthcare providers, (2) “full-line” drug wholesalers, and (3) specialized
drug wholesalers sometimes called “distributors.”

B. The STATE contends that BAYER caused to be submitted claims for payment to the
STATE’s Medicaid Program, established by Title XIX of the Social Security Act.

C. The STATE contends that it has civil claims against BAYER under various state
statates and comunon law for engaging in the following conduct during the period

January 1993 through Angust 1999 involving the marketing and sale of Koate-HP

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Antihemophilic Factor (Human), Kogenate Antihemophilic Factor (Recombinant),
Konyne-80 Factor IX Complex (Human), Gaminune N, 5% Immune Globulin |
Intravenous (Hursan, 5%), Gaminume N, 10% Immune Globulin Intravenous
(Human, 10%), and Thrombate II Antithrombin I (Human) (collectively referred to
hereafter as the Qui Tam Drugs):
2D The STATE contends that BAYER, im a manner similar to the
practices of certain other manufacturers, knowingly and intentionally
engaged in 2 marketing scheme whereby it set the Average Wholesale
Prices ("AWPs") of the Qui Tam Dnugs at ievels far higher than what
the vast majority of its customers actually paid for these products
when purchasing either directly from BAYER or through a wholesaler.
Because the majority of Medicaid programs use AWP as a benchmark |
in determining reimbursement rates, the STATE contends that as a
result of BAYER's actions, BAYER's customers received
reimbursement from state Medicaid programs at levels far higher than
their actual costs. .
ii) The STATE also contends that BAYER knowingly amd intentionally
misled certain state Medicaid programs that reimburse on the basis of
Wholesale Acquisition Cost ("WAC") by, among other actions, :
representing to third party reporting services such as First DataBank
and Medi-Span that it did not sell the Qui Tam Drugs through
wholesalers and by misleading Medicaid officials about the prices it

charged to wholesale purchasers in order to avoid reporting accurate

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wholesale or distributor price information that would have affected the
reimbursement levels of the Qui Tam Drugs in states that use WAC as
the remmbursement benchmark As a result, the STATE contends that —
BAYER's customers received renpbursement from the state Medicaid

- programs at levels far higher than their actual costs.

iit) The STATE also contends that BAYER knowingly and intentionally
misled certain state Medicaid programs that rely on actual acquisition
cost information about the prices at which BAYER sold the Qui Tam
Drugs to its customers, including home health agencies. The STATE
‘alleges that BAYER did so by falsely reporting its prices on surveys
and by providing invoices to home health companies that did not
reflect the actual net cost of the Qui Tam Drugs to customers. As a
result, the STATE contends that BAYER's customers received
reimbursement from the state Medicaid programs at levels far higher
than their actual costs.

iv) The STATE contends that BAYER knowingly and intentionally -:
misreported and underpaid its Medicaid Rebates for the Qui Tam
drugs, ie, the amounts that it owed to the Medicaid program under the
federal Medicaid Rebate Program, 42 U.S.C. § 1396r-8. BAYER .
generally was required on a quarterly basis to rebate to each state
Medicaid program the difference between the Average Manufacturer
Price and "Best Price," as defined by 42 U.S.C. §§ 1396r-8(k)(1) and
1396r-8(¢)(1)(C). The STATE alleges that BAYER misreported and

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underpaid its Medicaid rebates to all states by calculating its Best

Prices for the Qui Tam Drugs without factoring in the value of

discounts, rebates, short-dated goods
educational grants, free goods, chargebacks,
. which were not disclosed to the states or the

Medicaid programs.

discounts, unrestricted
and other price reductions

federal government or the .

BAYER's conduct and transactions referenced herein Paragraph D(CKi-iv) are

hereinafter referred to as the “Covered Conduct.”

The STATE contends that it has certain administrative claims against BAYER for

administrative and monetary penalties under state and federal law for the Covered

Conduct.

BAYER denies the STATE’s contentions as set forth in Paragraphs II (B — D) and

denies that it has any liability relating to these allegations.
In order to avoid the delay, uncertainty, inconvenience ¢
litigation of these claims, and as a result of mutual desire

Parties reach a full and final settlement as set forth below.
liability or wrongful conduct.

tegarding the Covered Conduct with the United States
relator (the "Relator") in a lawsuit filed pursuant to the

federal False Claims Act, Civil Action No, 95-95-1354 &s

BAYER also is entering into a Corporate Integrity Agre

Page 4

ind expense of protracted

o settle their disputes, the

. This Agreement does not constitute an admission by BAYER or evidence of any

. Concurrent with this Agreement, BAYER is entering into a settlement agreement

bf America and with the
Hui tam provisions of the
.D. Fla., under seal), and

cement with the Office of

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Inspector General of the United States Department of Health and Human Services and

into similar settlement agreements with numerous other stat

Part DI: Terms and Conditions
‘NOW, THEREFORE, in consideration of the mutual
obligations set forth below, and for good and valuable con:
the Parties agree as follows:
. (2) BAYER agrees to pay the United States, the individual

maximum collective sum of fourteen million dollars (514,

fes.

promises, covenants, and |

sideration as stated herein,

states and the Relator the

000,000) (the “Settlement

Amount”). BAYER agrees to make payment of the —r

share of the Settlement

Amount and the Relator's share of the Settlement Amount pursuant to the terms of

BAYER's separate settlement agreement with the Unit

States and the Relator.

BAYER agrees to pay the maximum sum of six million, jone hundred seventy-two

thousand dolJars ($6,172,000) of this total (the “Total S

representing the state-fimded portions of the claims settled
Medicaid programs, to the participating states identified
Agreement.
$1,319,989.28 (the “Individual State Settlement Amount”).

(b) Within three business days of the Effective Date

apreement, the Effective Date of the Corporate In

execution of an escrow agreement with the State of

te Setilement Amount”),
or the participating states’

on Exhibit “A™ to this

The STATE’s share of the Total State Settlement Amount is

of the federal settlement
tegrity Agreement or the

New York, whichever is

later, BAYER shall deposit the Total State Settlement Amount in an interest"

bearing escrow atcount under the custody and cor

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York Medicaid Fraud Contro! Unit, which shall act as Escrow Agent and shall
retain such funds until their release in accordance with the payment terms set
forth in c).
(c) The STATE shall be entitled to disbursement of its Individual State
Settlement Amount from the escrow account ten days after receipt by the
Escrow Agent of a copy of this Agreement executed by both the STATE and
‘BAYER; provided, however, that the STATE shall not be entitled to
disbursement of the Individual State Settlement Amount until the Escrow
Agent has received fully executed state settlement agreements from all those
states identified on Exhibit ug? (the “Threshold States”) . Any escrowed
funds not disbursed within 200 days after the Escrow Agent has received. the
Total State Settlement Amount sha}] be disbursed to BAYER.

2) Subject to the exceptions in Paragraph I1(6) below, in consideration of the
cbligations of BAYER set forth in this Agreement, conditioned upon BAYER’s
payment in full of the Individual State Settlement Amount, the STATE (on behalf of
itself, its officers, agents, agencies and departments) agrees to release BAYER, its -
parent corporation(s), subsidiaries and affiliates, predecessors, successors and assigns
as well as its current and former directors, officers, employees, agents and
shareholders from any civil or administrative monetary claim, action, suit or
proceeding the STATE has or may have under any source of law for the Covered
Conduct. The payment of this settlement amount fully discharges BAYER from any
obligation to pay restitution, damages, and or any fine or penalty to the STATE for
the Covered Conduct.

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3) In consideration of the obligations of BAYER set forth in this Agreement,
conditioned upon BAYER’s payment in full of the Individual State Settlement
Amount, the STATE agrees to release and refrain from instituting, directing or
maintaining any administrative claim or any action secking exclusion from the

' Medicaid program agsinst BAYER, its parent corporation(s), subsidiaries and
affiliates, predecessors, successors and assigns as well as its current and former
directors, officers, employees, agents and shareholders for the Covered Conduct as
relates to the STATE's Medicaid program, except as reserved in Paragraph (6),
below, and as reserved in this Paragraph.

4) In the event that any person(s) has(have) filed any qui tam “whistleblower” actions
under the laws of the STATE relating to the Covered Conduct, it is the STATE’s
understanding that: such person(s) shall take such actions as are necessary and
appropriate to dismiss said actions against BAYER and secure state court approvals,
to the extent necessary, of this Agreement; and, the STATE agrees that it shall
negotiate in good faith with the person(s) as to the person's(s*) share in comection
with the state action. In the event that an agreement cannot be reached, the STATE
agrees that it shall submit that issuc to the state court having jurisdiction. The
STATE shall also join in any necessary motions before the state court to secure
approvals of this Agreement.

5) BAYER fully and finally releases the STATE, its agencies, employees, servants, and
agents from any claims (including attomeys fees, costs, and expenses of every kind
and however denominated) which BAYER has asserted, could have asserted, or may

assert in the future against the STATE, its agencies, employces, servants, and agents,

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related to the Covered Conduct and the STATE’s investigation and prosecution
thereof.

6) Notwithstanding any other terms of this Agreement, specifically reserved and.
excluded from the scope and terms of this Agreement as to any entity or person
(including BAYER) are any and all of the following:

(2) Any civil, criminal or administrative claims arising under Title 26, U.S.
Code (internal Revenus Code) or the STATE’s Revenue Code;

(b) = Any criminal liability;

(c) Except as explicitly stated elsewhere in this Agreement, any
administrative liability, including mandatory exclusion from any state
health care programs;

(4d) —- Any civil or administrative liability that BAYER has or may have onder
any state statute, regulation or rule not released in Paragraph IN(2) above;

(e) Any claims based upon such obligations as are created by this Agreement;

(f Any express ox implied warranty claims or otter claims for defective or
deficient products or services, including quality of goods and services,
provided by BAYER; !

(g) Any claims for personal injury or property damage or for other
consequential damages arising from the Covered Conduct;

(hb) Any claims based on a failure to deliver items or services due; and,

{i) Any civil or administrative claims against indivi duals, including current or
former directors, officers, employees, agents ori shareholders of defendant

BAYER, who are criminally convicted m relation to the Covered Conduct.

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7) BAYER has entered into a Corporate Integrity Agreement with the Office of the .
Inspector General of the United States Department of Health and Human Services

(‘OIG”), the goal of which is to ensure the accurate and complete communication of

drug pricing information to specified drug price reporting services and the states.
. BAYER acknowledges that the OIG may share "honk, provided under the
Corporate Integrity Agreement with the STATE and that the Corporate Integrity
Agreement does not preclude the STATE from taking any|appropriate action against
BAYER for future conduct under the STATE's laws.

8) BAYER shell report certain dmg and biological produet pricing information to the
STATE's Medicaid Program as sct forth herein for the purpose of furnishing the
STATE with true pricing information that accurately refilects the prices at which
actual purchasers buy the drug and biological products sold by BAYER. BAYER
understands that this information may be relied upon by the STATE in establishing
reimbursement rates for drugs and biological products.

a) Price Reporting: Thirty days after the Jast day of each calendar quarter,

BAYER shall report, in accordance with sub-paragraph (b), the

average sale price of each of its drugs|and biological products

identified by BAYER’S NDC codes that are jor shall be reimbursed by

the STATE's Medicaid Program, to First DataBank and to the

STATE’s Medicaid Program, except that the first such report shall be

submitted on February 28, 2001, or fifteen days after the Effective

Date of this Agreement, whichever is later.| If appropriate to reflect

changes in the sources from which the STATE’s Medicaid program

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receives its pricing information, BAYER agrees that, upon the receipt
of a written request from the STATE, it wil report the prices toadnig —
pricing reporting source other than, and in dition to, First DataBank,
subject to reasonable provisions equivalent to those in place with First
_DataBank to ensure the confidentiality of thit information.

b) Average Sale Price Reporting Procedure: The price reported by
BAYER with respect to each dosage form, birength and volume of the
drug or biological product (without regard|to any special packaging,
labeling, or identifiers on the dosage form or product or package),
shall be the average of al] final sale prices charged by BAYER for the
dnig or biological product in the United] States to all purchasers,
excluding those sales exempt from incusiod in the calculation of “Best —
Price’ for Medicaid Rebate Program purposes, pursuant to 42 USC §
1396r-8, aud direct sales to hospitals. The prices identified in the
calculation of the average sale price should be net of all the followme:
volume discounts; prompt pay discounts; cakh discounts; chargebacks;.
short-dated product discaunts; free goods; rebates” and all other price
concessions provided by BAYER to any relevant purchaser, as earlier
defined in this paragraph, that result in a reduction of the ultimate cost -
fo the purchaser. Notwithstanding the foregoing, the average sale
price shall not include the value of bona fide charity care or grants.

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The average sale price reported shall be properly weighted to reflect

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the volume of sales at each sale price, ie, for each NDC code, the
price reported shal] be an average per unit price determined by
dividing the sum of al] final prices charged by BAYER, net of all price
reductions as defined ‘above, for a dmg or biological product m 2
quarter by the total number of units of that drug or biological product
sold in that quarter. The methodology by which BAYER has

. calculated average sale prices in accordance with these standards shall —
be identified to the STATE as provided in Paragraph I11.8(d).

c) Limitations on Reporting of Average Wholesale Price: With respect to .
the Qui Tam Drugs, BAYER shall not report an AWP to First.
DataBank, or any other reporting service, to be used for purposes of
setting Medicaid reimbursement prices for the Qui Tam Drugs, and
BAYER shall expressly infonn such reporting services to this effect.
This restriction shall not limit BAYER’s ability to report AWP
information for the Qui Tam Drugs to price reporting services for uses
unrelated to Medicaid, or its ability to report AWP information for any -
purposes for drugs or biological products other than the Qui Tam
drugs. .

d) Certification Requirement: With each report of average sale price
information BAYER sends to the STATE Medicaid Agency, BAYER
shall also provide a detailed description of the methodology used to

calculate the average sale price. A high managerial agent of BAYER

* The term “rebate” as used here is not understood to include any payments made by
BAYER to the States pursuant to the Medicaid Rebate Program.

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will certify that the average sale prices reported therein are the prices
that have been reported to First DataBank, or any successor reporting
agency, and that they have been caleulated in accordance with the
_ described methodology. Said certification shall be in the form
_annexed to this Agreement and shall include an acknowledgment that
the average sale prices reported will be filed with and used in the
administration of the STATE’s Medicaid program. To the extent that
BAYER's methodology involves accruing for the impact of future
events, BAYER shall include a description of its accrual methodology
in its certification, and ‘shall on a querterly basis evaluate such
methodology in light of its ectual experience and make any appropriate
adjustments.

e) It is understood that BAYER considers the average sale price
information and the methodology by which it is calculated to be
confidential commercial-information and proprietary trade secrets that
if disclosed would cause substantial injury to the competitive position
of BAYER. It is further understood, however, that all information
provided by BAYER to the STATE Medicaid Program pursuant to this
Agreement shal] be made available to the STATE’s MFCU upon
request.

f) BAYER agrees to submit average sale price information in accordance
with this paragraph for a period of five years from the Effective Date

of this Agreement.

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g) BAYER shall retain all workpapers and ‘supporting documentation
relating to the average sale prices of its drugs for six years after the
date of each certification and will make such documentation available
for inspection by the STATE’s Medicaid Program and the STATE’s
MFCU.

3) BAYER waives and will not assert any defenses BAYER may have to any ¢riminal
prosecution or administrative action relating to the Covered Conduct, which defenses
‘may be based in whole of in part on a contention that, under the Double Jeopardy
Clause in the Fifth Amendment of the United States Constitution or any
corresponding’ section of the STATE's Constitution, or under the Excessive Fines
Clause in the Eighth Amendment of the United States Constitution or the
corresponding section of the STATE's Constitution, this settlement bars_a remedy
sought ih such criminal prosecution or in any administrative action that has not been
released pursuant to this Agreement.

10) BAYER covenants to cooperate fully and truthfully with the STATE in any ongoing
investigation or investigation commenced within five years of the Effective Date of.
this Agreement of individuals and entities not specifically released by this Agreement
(including any parties with whom BAYER has or has had a business or professional
relationship, including but not limited to vendors, contractors, partners, joint
venturers, physicians, and referral sources) relating to the Covered Conduct. More
specifically, upon reasonable request fom the STATE:

(a) BAYER will make reasonable efforts to facilitate access to, and encourage

the cooperation of, its current and former directors, officers, and

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employees for interviews and testimony relating to the Covered Conduct,
consistent with the rights and privileges of such individuals. To encourage
the cooperation of such individuals, BAYER agrees to advise such
individuals in writing that the STATE wishes to interview them or seck
their testimony, and that the individuals’ cooperation is in the best interest
of BAYER. Cooperation provided pursuant to this subparagraph will
iuclude identification of witnesses who, to BAYER's knowledge, may
have material information related to the STATE's inquiry. The testimony
referred to in this paragraph includes, but is ‘not limited to, testimony
deemed necessary by the STATE or a-court to identify or establish the
source, original location, authenticity, ox other evidentiary foundation for
-any documents and to autheriticate such documents in any criminal, civil
and administrative investigations and proceedings in which the STATE is
involved.

(b) BAYER will provide copies of nou-privileged documents aud records in
its possession, custody or control relating to the Covered Conduct and
relating to the subject of the STATE's inquiry. In connection with this,
BAYER shall provide such technical assistance as is necessary to facilitate
the STATE's access to any computerized information covered by this
Paragraph.

(c) Nothing in this agreement shall be construed as a waiver by BAYER of its

attorney-client privilege or work product privilege. Notwithstanding that

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